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                                       December 22, 2021

The Honorable Colm F. Connolly                                                VIA E-FILING
J. Caleb Boggs Federal Building
844 North King Street
Wilmington, DE 19801

          Re:        Puma Biotechnology, Inc. v. AstraZeneca Pharmaceuticals LP,
                     C.A. No. 21-1338 (CFC)

Dear Chief Judge Connolly:

             I am writing on behalf of the parties in response to the Court’s
December 16, 2021 Oral Order to inform the Court that both parties do not consent
to a reference of this action to a Magistrate Judge.

                                              Respectfully,

                                              /s/ Rodger D. Smith II

                                              Rodger D. Smith II (#3778)

cc:       Clerk of the Court (via hand delivery)
          All Counsel of Record (via CM/ECF and e-mail)
